                Case 19-10872-KG            Doc 198      Filed 06/04/19       Page 1 of 3



                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 11

FUSE, LLC, et al.,                                            Case No. 19-10872 (KG)

                         Debtors.1                            (Jointly Administered)

                                                              Ref. Docket Nos. 11, 13, 14, 194

    OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ RESERVATION OF
        RIGHTS WITH RESPECT TO (A) DEBTORS’ CASH COLLATERAL
       MOTION AND CASH MANAGEMENT MOTION, (B) APPROVAL OF
    DISCLOSURE STATEMENT, AND (C) CONFIRMATION OF PREPACKAGED
                      PLAN OF REORGANIZATION

                The Official Committee of Unsecured Creditors (the “Committee”) appointed in

the chapter 11 cases (the “Chapter 11 Cases”) of the above-captioned debtors and debtors-in-

possession (the “Debtors”), by and through its undersigned proposed counsel, hereby files this

reservation of rights (the “Reservation of Rights”) regarding the approval of (i) the Motion of

Debtors Pursuant to Sections 105, 361, 362, 363, 503, and 507 of the Bankruptcy Code,

Bankruptcy Rules 2002, 4001, and 9014 and Local Rules 2002-1(b), 4001-2, 9013-1(m) for Entry

of Interim and Final Orders (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting

Adequate Protection, (III) Modifying the Automatic Stay, and (IV) Scheduling a Final Hearing

[Docket No. 11] (the “Cash Collateral Motion”); (ii) the Motion for Order Under Sections 105,

345, 363, 364, 503, 1107 and 1108 of the Bankruptcy Code Authorizing (I) Maintenance of

Existing Bank Accounts; (II) Continuance of Existing Cash Management System, Bank Accounts,


1
        The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax
    identification numbers, are: Fuse Media, Inc. (9721); Fuse Media, LLC (0560); Fuse, LLC (1888); JAAM
    Productions (5499); SCN Distribution, LLC (9656); Latino Events LLC (8204); Fuse Holdings LLC (5673);
    Fuse Finance, Inc. (8683); and FM Networks LLC (6500). The Debtors’ headquarters and service address is
    700 North Central Avenue, Suite 600, Glendale, CA 91203.
               Case 19-10872-KG        Doc 198       Filed 06/04/19   Page 2 of 3



Checks and Related Forms; (III) Continued Performance of Intercompany Transactions; (IV)

Limited Waiver of Section 345(b) Deposit and Investment Requirements; and (V) Granting

Related Relief (the “Cash Management Motion”); (iii) the Disclosure Statement for Debtors’

Prepackaged Joint Plan of Reorganization [Docket No. 14] (the “Disclosure Statement”); and

(iv) confirmation of the Debtors’ Prepackaged Joint Plan of Reorganization [Docket No. 13] (as

may be amended, modified, or supplemented, the “Plan”). In support of this Reservation of

Rights, the Committee respectfully states as follows:

               1.      The Debtors noted on the agenda for hearing on approval of the Disclosure

Statement and Plan that the Debtors and Committee had reached an agreement in principle on

Plan confirmation. While the Debtors and Committee have agreed to some clarifying and

modifying language that will be included in the proposed order confirming the Plan, certain

issues still remain unresolved.

               2.      The Committee will continue to work in good faith with the Debtors to

finally resolve the remaining issues. However, in the event that these remaining open issues are

not adequately addressed in advance of the confirmation hearing, the Committee reserves its

right to (a) object to the Cash Collateral Motion, (b) object to the Cash Management Motion, (c)

object to confirmation of the Plan and approval of the Disclosure Statement as proposed, (d)

request an adjournment of the Confirmation Hearing and on the hearing for final approval of the

Cash Collateral Motion and Cash Management Motion, and (e) exercise all other rights and

remedies available to it under applicable law.

                                    [continued on next page]




                                                 2
             Case 19-10872-KG    Doc 198      Filed 06/04/19   Page 3 of 3



Dated: June 4, 2019
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